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                                                                    UNITED STATES DISTRICT COURT
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                                  12
  LAS VEGAS, NEVADA 89101




                                                                            DISTRICT OF NEVADA
     PISANELLI BICE PLLC




                                  13
                                       SUNSET COMMERCIAL LLC, a Nevada                  CASE NO. 2:23-cv-02081-GMN-BNW
                                  14   Limited Liability Company,
                                  15                          Plaintiff,
                                       vs.
                                  16                                                    STIPULATION TO EXTEND LE
                                       BAYER CROPSCIENCE, INC. a New York               PETOMANE XXVII, INC.’S TIME TO
                                  17   Corporation; MONTROSE CHEMICAL                   ANSWER OR RESPOND TO AMENDED
                                       CORPORATION OF CALIFORNIA, a                     COMPLAINT (ECF NO. 35)
                                  18   Delaware Corporation; ATLANTIC
                                       RICHFIELD COMPANY, a Delaware                                 (Third Request)
                                  19   Corporation; OLIN CORPORATION, a
                                       Virginia Corporation, TITANIUM METALS
                                  20   CORPORATION, a Delaware Corporation;
                                       NL INDUSTRIES, INC. a New Jersey
                                  21   Corporation; LE PETOMANE XXVII, INC.,
                                       an Illinois Corporation, in its representative
                                  22   capacity as the NEVADA
                                       ENVIRONMENTAL RESPONSE TRUST
                                  23   TRUSTEE; and the UNITED STATE OF
                                       AMERICA,
                                  24
                                                              Defendants.
                                  25
                                  26
                                  27          Plaintiff SUNSET COMMERCIAL LLC (“Sunset” or “Plaintiff”) and Defendant LE

                                  28   PETOMANE XXVII, INC., as trustee of the NEVADA ENVIRONMENTAL RESPONSE TRUST


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                                   1   (“NERT” or “Defendant”), by and through counsel of record, and consistent with LR IA 6-1(a),
                                   2   hereby stipulate and agree as follows:
                                   3          NERT’s answer or other response to the Amended Complaint (ECF No. 35) is currently due
                                   4   on November 14, 2024. In order to facilitate continuing settlement negotiations, Plaintiff has agreed
                                   5   that NERT shall have an additional 32 days (up to and including Monday, December 16, 2024) to
                                   6   answer or otherwise respond to the Amended Complaint.
                                   7          The parties seek to abide by this Court’s “Standing Order” filed on December 19, 2023
                                   8   (ECF No. 9), stating that “Judge Navarro will generally deny a stipulation or motion for a
                                   9   continuance or extension of time which lacks justification,” and that “[s]uch requests may be
                                  10   granted only in extraordinary circumstances if just cause is presented.”
                                  11          The parties to this Stipulation therefore identify the following points of justification that
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                                  12   show just cause exists for granting the Stipulation:
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     PISANELLI BICE PLLC




                                  13          1.      Plaintiff filed its Amended Complaint (ECF No. 35) on or about April 15, 2024. By
                                  14                  stipulation, Defendant’s response to the Amended Complaint was due by June 11,
                                  15                  2024 (ECF Nos. 55, 61).
                                  16          2.      Defendant United States of America moved to dismiss the Amended Complaint on
                                  17                  May 13, 2024 (ECF No. 64). Defendant Atlantic Richfield Company moved to
                                  18                  dismiss the Amended Complaint on May 13, 2024, (ECF No. 65). NERT joined in
                                  19                  those motions to dismiss on June 3, 2024 (ECF No. 80).
                                  20          3.      Pursuant to a stipulation of the parties to this Stipulation and the Court’s order dated
                                  21                  May 7, 2024 (ECF No. 85), the deadline for NERT’s answer or other response to the
                                  22                  Amended Complaint was extended to 21 days after the Court’s final resolution of
                                  23                  the motions to dismiss. The Court denied the motions to dismiss on October 24,
                                  24                  2024 (ECF No. 113). Therefore, NERT’s deadline to answer or otherwise respond
                                  25                  to the Amended Complaint currently is November 14, 2024.
                                  26          4.      Meanwhile, Sunset has filed a Motion to Enter Consent Decree (ECF No. 114) as a
                                  27                  resolution of Sunset’s claims against Defendant United States of America and
                                  28                  Defendant Atlantic Richfield.

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                                   1         5.   The parties to this stipulation have been engaged in settlement discussions, and they
                                   2              intend to use the additional time afforded by this stipulation to continue to explore a
                                   3              potential resolution of the claims between them, including in light of the Motion to
                                   4              Enter Consent Decree (ECF No. 114).
                                   5         6.   No party has yet commenced discovery in this case and extending the deadline for
                                   6              NERT to file a responsive pleading or other response would not prejudice any other
                                   7              party to this case, nor would it affect any other deadlines at this early stage in the
                                   8              proceedings.
                                   9         7.   This is the third requested extension of this deadline and is made in good faith and
                                  10              not for purposes of delay. See LR IA 6-1(a).
                                  11   ///
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                                   1           THEREFORE, it is hereby stipulated and agreed by and between Plaintiff and NERT that
                                   2   NERT’s time to answer or otherwise respond to the Amended Complaint should be and hereby is
                                   3   extended to December 16, 2024.
                                   4
                                   5   DATED: NOVEMBER 13, 2024                       DATED: NOVEMBER 13, 2024
                                   6   PISANELLI BICE PLLC                            PARSONS BEHLE & LATIMER
                                   7
                                       By:       /s/ M. Magali Mercera                By:     /s/ Richard J. Angell
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                                  13
                                       Attorneys for Defendant LE PETOMANE
                                  14   XXVII, INC., in its representative capacity
                                       as Trustee of the NEVADA
                                  15   ENVIRONMENTAL RESPONSE TRUST
                                  16
                                  17
                                  18                                                 ORDER

                                  19
                                  20           IT IS SO ORDERED.
                                                Dated: November 15, 2024
                                  21
                                  22                                                  __________________________________

                                  23                                                  UNITED STATES MAGISTRATE JUDGE

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                                   1                                  CERTIFICATE OF SERVICE
                                   2          I HEREBY CERTIFY that I am an employee of PISANELLI BICE PLLC and that, on this
                                   3   13th day of November 2024, I caused to be served via the Court's CM/ECF service system a true
                                   4   and correct copy of the above and foregoing STIPULATION TO EXTEND LE PETOMANE
                                   5   XXVII, INC.'S TIME TO ANSWER OR RESPOND TO AMENDED COMPLAINT (ECF
                                   6   NO. 35) (Third Request) to all parties on the Court's CM/ECF service list.
                                   7                                                     /s/ Cinda Towne
                                                                                   An employee of PISANELLI BICE PLLC
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